 Case 3:17-cv-01163-JPG Document 82 Filed 08/08/19 Page 1 of 5 Page ID #471




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

SHERYL RAY AND KIRK RAY         )
                                )
     Plaintiffs,                )
                                )
vs.                             )                     Cause No.:      3:17-cv-01163-JPG-MAB
                                )
MYRON KENT WILSON and           )
CELADON TRUCKING SERVICES, INC. )
                                )
     Defendants.                )

                           DEFENDANTS’ MOTIONS IN LIMINE

       COME NOW Defendants and for their Motions in Limine hereby state:

       1.      David Stopper should be prohibited from testifying regarding Celadon’s
               duty or negligence related to weather conditions and advisories

       In his deposition, Plaintiffs’ liability expert witness David Stopper has testified that in his

opinion, Defendant Celadon failed to notify it driver Wilson of the current weather conditions at

or near the scene of the accident.

       Mr. Stopper should be prohibited from testifying to these opinions because:

               a)      No such theory of recovery or cause of action, or any

                       similar cause of action, has been pleaded by Plaintiffs in

                       their Complaint;

               b)      In his deposition, Stopper was unable to identify any

                       particular weather report or information available to

                       Celadon that Celadon should have communicated to its

                       driver;

               c)      As Celadon has already admitted that Wilson was acting

                                                  1
 Case 3:17-cv-01163-JPG Document 82 Filed 08/08/19 Page 2 of 5 Page ID #472




                      within the course and scope of his employment, Plaintiffs’

                      may not bring any direct cause of action against Celadon.

__________ Stipulated                 __________ Sustained          __________ Overruled

       2.      Evidence of any contractual relationship between Celadon and Mr. Wilson
               should be excluded

       Plaintiffs should be prohibited from introducing evidence or testimony regarding the

contractual relationship between Celadon and Wilson, and the lease agreement for the truck

between Wilson and Quality Leasing. These matters are not relevant to any issue in the case.

__________ Stipulated                 __________ Sustained          __________ Overruled

       3.      Evidence or reference to Celadon’s failure to train Mr. Wilson should be
               excluded

       Plaintiffs should be prohibited from introducing evidence or testimony regarding whether

Celadon failed to properly train the Defendant Wilson regarding use of a retarder brake/jake

brake. Celadon has admitted that Wilson was acting within the course and scope of his

employment at the time of the incident, and therefore Plaintiffs may not maintain a separate

action against Celadon for failure to properly train Wilson. See Gant v. L.V. Transport, Inc., 770

N.E.2d 1155 (2002), Boeschen v. Butler Transport, 2016 W.L. 4617364 (U.S.D.C. for SDI), and

Thompson v. Northeast Regional Commuter R.R. Corp., 854 N.E.2d 744.

__________ Stipulated                 __________ Sustained          __________ Overruled

       4.      Testimony from experts regarding the relative forces at issue during the
               motor vehicle accident should be excluded

       Dr. Lee and any other medical expert should be prohibited from opining on the relative

forces put on Ms. Ray as a result of the Motor Vehicle Accident as he lacks the foundation to

assess or form conclusions regarding this matter. Through Daubert, United States Supreme

                                                2
 Case 3:17-cv-01163-JPG Document 82 Filed 08/08/19 Page 3 of 5 Page ID #473




Court has made it clear that scientific testimony is admissible under Rule 702 only if it is based

upon “scientific knowledge” that is “derived by the scientific method”:

          Proposed testimony must be supported by appropriate validation – i.e.,
          “good grounds,” based on what is known. In short, the requirement that an
          expert’s testimony pertain to “scientific knowledge” establishes a standard
          of evidentiary reliability.

Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 590 (1993).

       Here Dr. Lee has admitted he does not know the details of the accident beyond what was

reported to him by Ms. Ray. He did not know how fast Defendants truck was moving, he did not

see any pictures of the accident or vehicles after the accident. (See Deposition of Dr. Lee, Pgs

88-90.) Dr. Lee’s opinion regarding causation is not based on the circumstances of the collision

(force, speed, damage, etc.), but instead is based on the timing of Ms. Ray’s symptoms in

relation to the accident. Consequently, any discussion of the relative forces of the accident in

relation to Ms. Ray’s injuries is not only outside the scope of Dr. Lee’s expertise based on his

own personal knowledge, but would violate Federal Rules of Evidence 403 as it would establish

substantial prejudice against Defendants that is not weighed by its probative value in light of the

lack of foundational knowledge Dr. Lee has in relation to the relative forces at issue during the

motor vehicle accident between Defendants and Plaintiff.

__________ Stipulated                 __________ Sustained           __________ Overruled




                                                 3
 Case 3:17-cv-01163-JPG Document 82 Filed 08/08/19 Page 4 of 5 Page ID #474




       5.      Evidence or reference to drug and alcohol testing, or lack thereof, should be
               excluded

       Plaintiffs should be barred from referencing or alluding to the fact that Mr. Wilson was

not tested for drugs or alcohol after the motor vehicle accident as Plaintiffs’ own expert testified

such testing was not required and even alluding to the lack of testing or requirements would be

more prejudicial than probative in violation of Federal Rules of Evidence 403.

__________ Stipulated                  __________ Sustained           __________ Overruled

       6.      Plaintiffs’ reference to the relative speed of Defendants’ truck should be
               excluded

       Plaintiffs’ witnesses and Plaintiffs’ attorneys should be barred from any of their witnesses

referencing the relative speed of Defendants’ truck in miles per hour during motor vehicle

accident, as no foundation has been established during the previous testimony of the witnesses

that any witness could estimate how fast the truck was moving and such speculation after the fact

would be more prejudicial than probative in violation of Federal Rules of Evidence 403.

__________ Stipulated                  __________ Sustained           __________ Overruled

       7.      Plaintiffs’ reference to wealth, profits, or profit motive should be excluded

       Plaintiffs’ witnesses, specifically but not limited to David Stopper, and Plaintiffs’

attorneys should be barred form making any reference to the wealth, profits, or profit motive of

either of Defendants as such testimony is irrelevant to the issues in this case and would be more

prejudicial than probative in violation of Federal Rules of Evidence 403.

__________ Stipulated                  __________ Sustained           __________ Overruled




                                                  4
 Case 3:17-cv-01163-JPG Document 82 Filed 08/08/19 Page 5 of 5 Page ID #475




                                              Respectfully Submitted,

                                              RASMUSSEN DICKEY MOORE, LLC


                                              By:    /s/ Nathan A. Lindsey
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                                              ATTORNEYS FOR DEFENDANTS
                                              CELADON TRUCKING SERVICES, INC.
                                              and MYRON KENT WILSON


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was electronically filed with
the United States District Court for the Southern District of Illinois with service via operation of
the Court’s electronic filing system, this 8th day of August, 2019 to:

John G. Simon
Erica Blume Slater
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                                              /s/ Nathan A. Lindsey




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